625 F.2d 1013
    Rosenbergv.Evanicky
    79-1317
    UNITED STATES COURT OF APPEALS Fifth Circuit
    8/21/80
    
      1
      N.D.Tex.
    
    
      2
      AFFIRMED***
    
    
      3
      (The decision of the Court is referenced in a 'Table of Decisions Without Reported Opinions' appearing in the Federal Reporter. The Eleventh Circuit provides by rule that unpublished opinions are not considered binding precedent.  They may be cited as persuasive authority, provided that a copy of the unpublished opinion is attached to or incorporated within the brief, petition or motion.  Eleventh Circuit Rules, Rule 36-2, 28 U.S.C.A.)
    
    
      
        ***
         Opinion contains citation(s) or special notations
      
    
    